Case 3:19-cv-01147-HES-PDB Document 43 Filed 01/06/21 Page 1 of 2 PageID 390




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION


JAC’QUANN MARQUIS HARVARD,

                  Plaintiff,

v.                                             Case No. 3:19-cv-1147-J-20PDB

MARK S. INCH et al.,

                 Defendants.
___________________________________


                                   ORDER


      1.    The parties must conduct discovery so that any requested

discovery is due no later than April 9, 2021. Any discovery-related motion

must be filed by April 19, 2021.

      2.    Any summary-judgment motion or other case-dispositive motion

must be filed by June 8, 2021. If a party relies on a deposition, the entire

transcript must be filed.

      3.    Responses to any summary-judgment motion or other case-

dispositive motion must be filed by July 8, 2021.

      4.    The parties are encouraged to discuss the possibility of settlement

and must notify the Court if efforts are successful.
Case 3:19-cv-01147-HES-PDB Document 43 Filed 01/06/21 Page 2 of 2 PageID 391




      5.     The defendants’ counsel may depose the plaintiff. Counsel must

contact the warden of the plaintiff’s institution to arrange an appropriate time

and place.

      Ordered in Jacksonville, Florida, on January 6, 2021.




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c:    Counsel of Record




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